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                                                United States Bankruptcy Court
                                                    Central District of California
In re   The Litigation Practice Group P.C.                             Case No.
                                          Debtor(s)                    Chapter      11




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:     03/22/2023

                                                                           Signature of Debtor




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                                                Ajilon
                                                Lockbox: Dept CH 14031
                                                Palatine, IL 60055



                                                Anibal Colon Jr
                                                c/o Alexander Taylor, Esq.
                                                Sulaiman Law Group Ltd
                                                2500 S. Highland Ave, Ste 200
                                                Lombard, IL 60148



                                                Anthem Blue Cross
                                                PO Box 511300
                                                Los Angeles, CA 90051



                                                Arizona Dept of Economic Security
                                                PO Box 6028
                                                Phoenix, AZ 85005



                                                Arkansas Dept of Finance & Admin
                                                PO Box 9941, Little Rock, AR 72203-9941
                                                Little Rock, AR 72203



                                                Azevedo Solutions Groups, Inc
                                                420 Adobe Canyon Rd
                                                Kenwood, CA 95452



                                                Beverly Graham
                                                c/o Bobby Walker, Esq.
                                                Sulaiman Law Group
                                                2500 S. Highland Ave, Ste 200
                                                Lombard, IL 60148



                                                Business Centers of America
                                                1100 Sir Francis Drake Blvd
                                                Ste 1
                                                Kentfield, CA 94904




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                                                California Franchise Tax Board
                                                PO Box 942857
                                                Sacramento, CA 94257



                                                Carolina Technologies & Consulting Invoice
                                                1854 Hendersonville Road, Suite A
                                                PMB #178
                                                Asheville, NC 28803



                                                Carolyn Beech
                                                c/o Daniel Edelman, Esq.
                                                20 South Clark St., Ste1500
                                                Chicago, IL 60603



                                                City Capital NY
                                                1135 Kane Concourse
                                                Bay Harbour Islands, FL 33154



                                                Collaboration Advisors
                                                400 Dorla Court
                                                Zephyr Cove, NV 89448



                                                Credit Reporting Service Inc
                                                548 Market St, Suite 72907
                                                San Francisco, CA 94104



                                                CT Corporation - Inv
                                                PO Box 4349
                                                Carol Stream, IL 80107



                                                Darcy Williamson, Trustee
                                                510 SW 10th
                                                Topeka, KS 66612




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                                                c/o Joshua Eggnatz, Esq,
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                                                Davie, FL 33314



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                                                c/o Robert Cocco
                                                1500 Walnut St, Ste 900
                                                Philadelphia, PA 19102



                                                Debt Pay Pro
                                                1900 E Golf Road, Suite 550
                                                Schaumburg, IL 60173



                                                Debt Validation Fund II, LLC
                                                5075 Lower Valley Road
                                                Atglen, PA 19310



                                                Dept of Labor and Industries
                                                PO Box 34022
                                                Seattle, WA 98124



                                                Diverse Capital LLC
                                                323 Sunny Isles Blvd, Ste 503
                                                Sunny Isles, FL 33154



                                                Document Fulfillment Services
                                                2930 Ramona Ave #100
                                                Sacramento, CA 95826



                                                EnergyCare, LLC
                                                2925 N. Green Valley Parkway
                                                Suite C
                                                Henderson, NV 89014




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                                                Executive Center LLC
                                                5960 South Jones Blvd
                                                Las Vegas, NV 89118



                                                Exela Enterprise Solutions
                                                2701 E. Grauwyler Road
                                                Irving, TX 75061



                                                First Legal Network, LLC
                                                PO Box 743451
                                                Los Angeles, CA 90074



                                                Fundura Capital Group
                                                80 Broad Street, Ste 3303
                                                New York, NY 10004



                                                Geneve and Myranda Sheffield
                                                c/o Jeremiah Heck, Esq
                                                Luftman Heck & Assoc
                                                6253 Riverside Dr, Ste 200
                                                Dublin, OH 43017



                                                Georgia Dept of Labor
                                                148 Andrew Young International Blvd, NE, Suite 752
                                                Atlanta, GA 30303



                                                GHA Technologies Inc
                                                Dept #2090
                                                PO Box 29661
                                                Phoenix, AZ 85038



                                                Gloria Eaton
                                                c/o Kris Skaar, Esq.
                                                133 Mirramont Lake Dr.
                                                Woodstock, GA 30189




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                                                Harrington Electric Inc
                                                PO Box 886
                                                Skyland, NC 28776



                                                Imagine Reporting
                                                1350 Columbia Street
                                                Suite 703
                                                San Diego, CA 92103



                                                Indiana Dept of Revenue
                                                PO Box 1028
                                                INDIANAPOLIS, IN 46206



                                                Internal Revenue Service (IRS)
                                                Internal Revenue Service
                                                Ogden, UT 84201



                                                James Hammett
                                                c/o Jenna Dakraub
                                                Price Law Group
                                                8245 N. 85th Way
                                                Scottsdale, AZ 85258



                                                Johnny RIzo
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                                                Sulaiman Law Group
                                                2500 S. Highland Ave, Ste 200
                                                Lombard, IL 60148



                                                JP Morgan Chase
                                                3 Park Plaza, Ste 900
                                                Irvine, CA 92614



                                                Juize, Inc
                                                PO Box 505
                                                Murrieta, CA 92562




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                                                Krisp Technologies, Inc
                                                2150 Shattuck Ave
                                                Penthouse 1300
                                                Berkeley, CA 94704



                                                LexisNexus
                                                15500 B Rockfield Blvd
                                                Irvine, CA 92618



                                                Liberty Mutual
                                                PO Box 91013
                                                Chicago, IL 60680



                                                Marc Lemauviel - Allegra
                                                326 MacNeil Way
                                                Weaverville, NC 28787



                                                Marich Bein LLC
                                                99 Wall Street
                                                Ste 2669
                                                New York, NY 10005



                                                MarkSYS Holdings, LLC
                                                3725 Cincinnati Ave
                                                Suite 200
                                                Rocklin, CA 95765



                                                MC DVI Fund 1, LLC; MC DVI Fund 2, LLC
                                                1598 Cottonwood Dr
                                                Glenview, IL 60026



                                                Michael Schwartz
                                                3968 Lowry Avenue
                                                Cincinnati, OH 45229




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                                                Mississippi Dept of Revenue
                                                PO Box 23075
                                                Jackson, MS 39225



                                                Nationwide Appearance Attorneys
                                                5737 Kanan Rd #628
                                                Agoura Hills, CA 91301



                                                Netsuite-Oracle
                                                2300 Oracle Way
                                                Austin, TX 78741



                                                Nevada Dept of Taxation
                                                1550 College Parkway, Suite 115
                                                Carson City, NV 89706



                                                Outsource Accelerator Ltd
                                                City Marque Limited, Unit 8801-2
                                                Bldg 244-248 Des Voeux Rd
                                                Central Hong Kong



                                                Pitney Bowes
                                                PO Box 981026
                                                Boston, MA 02298



                                                Rapid Credit Inc
                                                3558 Round Barn Blvd
                                                Suite 200
                                                Santa Rosa, CA 95403



                                                SBS Leasing A Program of De Lage Landen
                                                PO Box 41602
                                                Philadelphi, PA 19101




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                                                Security Solutions
                                                10911 Bloomfield St
                                                Los Alamitos, CA 90720



                                                Sharp Business Systems
                                                8670 Argent St
                                                Santee, CA 92071



                                                Streamline Performance Inc
                                                1551 N Tustin, #555
                                                Santa Ana, CA 92705



                                                TaskUs Holdings, Inc.
                                                1650 Independence Dr
                                                New Braunfels, TX 78132



                                                Thomson Reuters
                                                610 Opperman Drive
                                                Eagen, MN 55123



                                                Tustin Executive Center
                                                1630 S Sunkist Steet
                                                Ste A
                                                Anaheim, CA 92806



                                                Twilio, Inc
                                                101 Spear Street
                                                Suite 500
                                                San Francisco, CA 94105



                                                Utah State Tax Commission
                                                210 N 1950 W
                                                Salt Lake City, UT 84134




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                                                Validation Partners LLC
                                                1300 Sawgrass Pkwy
                                                Ste 110
                                                Sunrise, FL 33323



                                                Wisconsin Dept of Revenue
                                                PO Box 8901
                                                Madison, WI 53708




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